Case 2:17-cV-00535-SPC-CI\/| Document 1 Filed 09/27/17 Page 1 of 5 Page|D 1

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MIDDLE DISTRICT oF FLORIDA 39|7 SEP 27 PH |= ?.l
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DEREK BESS, Case No.'

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JURY TRIAL

VS.

DYNAMIC RECOVERY SOLUTIONS, LLC,

Defendant.

 

Plaintiff, Derek Bess, (“Plaintift”), by and through undersigned counsel, hereby sues
Defendant, Dynamic Recovery Solutions, LLC (“Defendant”), and alleges as follows:

PRELIMINARY STATEMEN'I`

l. This is an action for damages arising from Defendant`s violations of 15 USC §1692, et.
seq., the Fair Debt Collection Practices Act (“F[)CPA”), a strict liability statute which prohibits
debt collectors from engaging in abusive, deceptive and unfair collections practices, and the
Florida Consumer Collection Practices Act, F|a. Stat. §559.72 (“FCCPA”).

JURISDICTION AND VENUE

2. This Court has jurisdiction over this action pursuant to 28 USC §1331 and 15 USC
§1692k(d) and supplementaljurisdiction pursuant to 28 U.S.C. §1367.

3. Venue is proper in this district under 28 USC §l39l(b).

Case 2:17-cV-00535-SPC-CI\/| Document 1 Filed 09/27/17 Page 2 of 5 Page|D 2

PARTIES

4. Plaintiff is a natural person, who at all relevant times has resided in the in the city of
Lehigh Acres, Lee County, state of Florida, and is a “consumer” as defined by 15 USC
§1692a(3), who is otherwise sui juris.

5. Defendant is a corporation doing business in the state of Florida, with its corporate
mailing address as 135 Interstate Blvd., Greenville, SC 29615, and is a “debt collector” as
defined by 15 USC §1692a(6).

FACTUAL STATEMENT

6. Upon information and belief, on a date better known to Defendant, Dynamic Recovery
Solutions, LLC was assigned an alleged consumer debt for collection from Plaintiff.

7. " The alleged debt arose out of a transaction in which money, property, insurance or
services, which are the subject of the transaction, were primarily for personal, family or
household purposes and is therefore a “debt” as that term is defined by 15 U.S.C. §l692a(5).

8. [n 0ctober 2016, Defendant began calling Plaintiff`s work phone number in an attempt
to collect the alleged debt. The phone number Defendant called was (239) xxx-2833, which is
Plaintifi’s cell phone that he uses for work.

9. Specit`lcally, on October 5, 2016, at 6:53 p.m., Plaintiff called Defendant and advised that
they were not to contact him on his cell, (239) xxx-2833, which is his work phone.

10. Despite the request, Defendant contacted Plaintiff at his work phone on October 17, 2016
at 9:04 a.m.

11. As such, Defendant called Plaintiff in an attempt to collect an alleged debt, at a time that

was known, or should have been known, to be inconvenient to Plaintiff, the consumer.

Case 2:17-cV-00535-SPC-CI\/| Document 1 Filed 09/27/17 Page 3 of 5 Page|D 3

Defendant’s actions constitute a violation of the FDCPA for which Plaintiff has been damaged
and is entitled to relief.

COUNT I
VIOLATION OF THE FAIR DEBT COLLECTIONS PRACTICES ACT

15 U.S.C. § 1692cga)(1), 15 U.S.C. §1692d, 15 U.S.C. §1692d15) and 15 U.S.C. §1692f
12. Plaintiff repeats and realleges the prior statements as if specifically set forth herein.
13. Defendant made a call to Plaintiff s work phone on October 17, 2016, after being advised
by Plaintiff on October 5, 2016 to cease all communication to his work phone.
14. Defendant`s actions are in violation of 15 U.S.C. §16920('<1)(1), which prohibits
communicating with the consumer at an unusual time or place known, or which should be
known, to be inconvenient to the consumer.
15. Defendant’s actions are in violation of 15 U.S.C. §1692f which prohibits the use of any
unfair or unconscionable means to collect or attempt to collect any debt.
16. Defendant’s actions are in violation of 15 U.S.C. §1692d which prohibits a debt collector
from engaging in any conduct the natural consequence of which is to harass, oppress or abuse
Plaintiff in connection with the connection of the alleged debt after Plaintiff advised Defendant
not to call him at work.
17. Defendant’s actions are in violation of 15 U.S.C. §1692d(5) by causing the telephone to
ring with intent to annoy, abuse or harass Plaintiff after Plaintiff requested Defendant to stop
calling him at work.

18. Plaintiff has been damaged and is entitled to relief.

Case 2:17-cV-00535-SPC-CI\/| Document 1 Filed 09/27/17 Page 4 of 5 Page|D 4

WHEREFORE, Plaintiff, Derek Bess, requests that this Coult enter judgment against
the Defendant, and on behalf of Plaintiff as follows:
A. Declaring Defendant’s actions, as described above, in violation of the FDCPA;
B. Granting Plaintiff actual damages pursuant to 15 USC §l692k(a)(l);
C. Granting Plaintiff statutory damages pursuant to 15 USC §l692k(a)(2)(A);
D. Granting Plaintiff an award for costs and reasonable attorneys’ fees pursuant to
15 USC §1692k(a)(3);

E. Granting such other and further relief as may be just and proper.

COUNT II
VIOLATION OF THE FLORIDA CONSUNIER COLLECTION PRACTICES ACT

 

19. Plaintiff repeats and realleges the prior allegations as if fully set forth herein.

20. As a result of the foregoing actions, Defendant has violated §559.72(7) of the FCCPA by
willfully engaging in conduct which can reasonably be expected to abuse or harass the
debt or any member of his family when Defendant called Plaintiff after Plaintiff told them
to stop calling him.

21. As a result, Plaintiff has been damaged and is entitled to relief.

WHEREFORE, Plaintiff, Derek Bess, requests that this Court enter judgment against
the Defendant, and on behalf of Plaintiff as follows:

A. Statutory damages of $1,000.00 pursuant to Fla. Stat. §559.77(2)

B. Costs and reasonable attorneys’ fees pursuant to §559.77(2)

C. Punitive damages and equitable relief, enjoining further violations, pursuant to

§559.77(2)

Case 2:17-cV-OO535-SPC-C|\/| Document 1 Filed 09/27/17 Page 5 of 5 Page|D 5

D. Granting such other and further relief as may be just and proper.

JURY TRIAL DEMAND

Plaintiff demands a trial by jury on all issues so triable.

Dated: September 19, 2017

Respectfully Submitted,

s/Maita Golani

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